Case 2:25-cr-00120 Document1 Filed on 01/19/25 inTXSD Pageiof8

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

" United States Courts
Southern District of Texas
FILED

Southern District of Texas” o Jan 19, 2025
Unjted States of America Nathan Ochsner, Clerk of Court
Jose Santana Lopez Case‘No. 2:25-MJ-0040
and :
Jose Luis Guadarrama

Nee ee ae ae ae

Defendant(s) .
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of January 17, 2025 _. inthe county of Brooks in the

Southern District of Texas , the defendant(s) violated:

Code Section Offense Description

18 U.S.C. Section 554 for any person to fraudulently or knowingly exports or sends from the United
States, or attempts to export or send from the United States, any
merchandise, article, or object contrary to any law or regulation of the United

and States.

18 U.S.C. Section 2 Whoever commits an offense-against the United States or aids, abets,
counsels, commands, induces or procures its commission, is punishable as a
principal ca a

This criminal complaint is based on these facts:

See attached Affidavit.

@ Continued on the attached sheet.

Complainant's stgnature

Submitted by reliable electronic means, sworn to, . Co

signature attested telephonically per Fed. R. Crim. ___ Michael E. Dail, Special Agent, ATF
P.4.1 and probable cause found this 19th day of . a Printed name and title
January, 2025. , ON

Date: 01/19/2025

City and state: Corpus Christi, Texas oo . J¥son B. Libby, United States Magistrate Judge

Printed name and title

Case 2:25-cr-00120 Documenti Filed on 01/19/25 in TXSD Page 2of8

AFFIDAVIT

I, Michael E. Dail, being first duly sworn, hereby depose and state as follows:

1. lama Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms, and
Explosives (ATF), a Division of the United States Justice Department, assigned to
the Corpus Christi Field Office and have been so employed since October 27,
2019. Asa Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives, I have graduated from the Federal Law Enforcement Training Center
and the ATF National Academy. I am vested with the authority to investigate
violations of Federal laws, including Titles 18, 22, and 26, United States Code.

2. Iam familiar with certain Federal criminal laws and know that it is a violation
Title 18 U.S.C. § 554: for any person to fraudulently or knowingly exports or
sends from the United States, or attempts to export or send from the United States,
any merchandise, article, or object contrary to any law or regulation of the United
States, or receives, conceals, buys, sells, or in any manner facilitates the
transportation, concealment, or sale of such merchandise, article or object, prior to
exportation, knowing the same to be intended for exportation contrary to any law
or regulation of the United States.

3. Further I know the Arms Export Control Act (AECA), 22 U.S.C. § 2778,
regulates the exportation of “defense articles,” including firearms and firearm
parts. The articles subject to AECA control are listed under various categories in
the State Department’s U.S. Munitions List contained in the regulations in 22
CFR 121.1. Firearms and component parts of firearms are listed under Categories
I and II. Category I covers nonautomatic and semi-automatic firearms to include
.50 caliber (12.7 mm), as well as fully automatic firearms to .50 caliber inclusive.
This category also covers silencers, mufflers, sound and flash suppressors, and
rifle scopes manufactured to military specifications.

4, This affidavit is in support of a criminal complaints charging Jose Santana
LOPEZ, hereinafter referred to as “LOPEZ”, and Jose Luis GUADARRAMA,
hereinafter referred to as “GUADARRAMA”, with the criminal violation set forth
in this affidavit. The evidence available to me demonstrates there is probable
cause to believe LOPEZ and GUADARRAMA have violated Title 18 USC § 554.

5. On January 17, 2025, at approximately 7:45 pm, your Affiant spoke with Texas
Department of Public Safety (DPS) SA Julio Trevino regarding a traffic stop by a DPS
Trooper.

6. On February 17, 2025, at approximately 5:45 pm, DPS Trooper Antonio de la Vina,
accompanied by Trooper Tejeda, conducted a traffic stop of a Jeep, gray in color, bearing
Texas License Plate (TXLP) PSG1432 but missing the front license plate. Troopers
conducted the traffic stop on Highway 281 near mile marker 740, approximately 2 miles
Case 2:25-cr-00120 Documenti Filed on 01/19/25 in TXSD Page 3of 8

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before the Brooks’ County and Hidalgo County line, south of the Falfurrias Border Patrol
Check Point. Troopers found the vehicle occupied by the driver, LOPEZ, and the
passenger in the front seat, GUADARRAMA.

During the stop, Troopers noticed the smell of marijuana and conducted a search of the
vehicle. During the search, Troopers observed that the registration sticker of the Jeep did
not appear to match the displayed license plate. When Troopers conducted a check of the
registration by the vin number, it was found the Jeep should have had TXLP SSV5277
and was reported stolen from Waelder, Texas.

Troopers then discovered a substance found to suspected to be “crystal meth”. LOPEZ
admitted to the Troopers that the “meth” belonged to him. Troopers took LOPEZ into
custody for the possession of methamphetamine. LOPEZ also made statements to the
Troopers that he uses “meth” regularly and is “addicted” to it.

During the arrest of LOPEZ, Troopers found an empty holster in the waistband of
LOPEZ. LOPEZ informed Troopers there were two weapons behind the glove box.
Troopers only found one firearm; a purple in color firearm identified as a SCCY
Industries, Model CPX-2, 9x19mm, pistol, SN: C522547. The firearm was found with a
magazine and 10 rounds of 9x19mm ammunition. There were three additional magazines
near it that are for Taurus pistols. No Taurus firearms were recovered during the search.

Because Troopers could not find the second firearm, Troopers made the decision to move
the stop to the Falfurrias Border Patrol Check Point to use the x-ray machine at the check
point to confirm what LOPEZ stated. On the way to the check point, LOPEZ told
Troopers that there were firearms were in the spare tire.

At the check point, Troopers could not locate a second firearm behind the glove box of
the Jeep but did confirm there were firearms, in plastic firearms cases, inside the spare
tire mounted on the rear of the Jeep. Troopers removed the spare tire and used a
“sawsall” to cut the side wall of the tire and remove the firearms. Each plastic case had a
different firearm, magazines for that firearm and some ammunition of the appropriate
caliber for that firearm.
Case 2:25-cr-00120 Document1i - Filed on 01/19/25 in TXSD Page4of8

12. The firearms were identified as follows:

a. One (1) Glock, Model 19Gen5, 9x19mm, pistol, SN: AHFN725. The firearm was
recovered in a Glock brand plastic case with three magazines and 50 rounds of
loose 9x19mm ammunition in it.

b. One (1) Walther, Model P22, .22 LR caliber, pistol, SN: WA504643. The firearm
was recovered in a Kel-Tec brand plastic case, marked for a Kel-Tec, Model PF-9
pistol. Inside the case with the firearm was one magazine and 11 rounds of loose
.22 LR ammunition.

c. One (1) Beretta, Model M9, .22 LR caliber, pistol, SN: BM062889. The firearm
was recovered in a Walther brand plastic case, marked for the above-listed
Walther pistol with SN WA504643. Inside the case with the firearm was two
magazines and 51 rounds of loose .22 LR ammunition.

d. One (1) Ruger, Model Security 380, .380 Auto caliber, pistol, SN: 387-85297.
The firearm was recovered in a Kel-Tec brand plastic case, marked for a Kel-Tec
Model P17 pistol. Inside the case with the firearm was two magazines and three
boxes, totaling 150 rounds, of .380 Auto ammunition in factory original boxes.

e. One (1) Walther, Model P22, .22 LR caliber, pistol, SN: WA504643. The firearm
was recovered in a Kel-Tec brand plastic case, marked for a Kel-Tec, Model PF-9
pistol. Inside the case with the firearm was one magazine and-11 rounds of loose
.22 LR ammunition.

13. LOPEZ and GUADARRAMA were interviewed at the Falfurrias Check Point initially by
DPS SAs Trevino and Rene Guerrero. LOPEZ was interviewed first.
Case 2:25-cr-00120 Documenti Filed on 01/19/25 in TXSD Page 5of8

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SAs Trevino and Guerrero conducted the Miranda Warnings to LOPEZ again. During
interview, LOPEZ claimed to have recently purchased the firearms at an Academy Sports
and Outdoors in Austin, Texas. LOPEZ had placed the firearms in the tire because he
knew GUADARRAMA is not allowed to be near firearms because he is a felon. LOPEZ
stated that the vehicle was going to Mexico. LOPEZ claims he was going to take the
firearms back to Dallas with him. Prior to ending the interview, LOPEZ admitted to being
a meth user and had even used meth earlier that day.

SAs Trevino and Guerrero then interviewed GUADARRAMA, beginning with
conducting Miranda Warnings to GUADARRAMA again. GUADARRAMA said he was
picked up by LOPEZ in Austin and went with LOPEZ to the Academy Sports and
Outdoors. He did not know LOPEZ had that many firearms in the vehicle and was
wanting a ride back home to Mexico where his family is.

GUADARRAMA stated that the plan for LOPEZ and GUADARRAMA was to wait in
Donna, Texas, until the morning and then take the Jeep across the border to Mexico
during the day when it is safer. GUADARRAMA also stated that LOPEZ had tried to sell
GUADARRAMA a .22 caliber pistol in Mexico previously.

Following the interviews of LOPEZ and GUADARRAMA, your affiant arrived at the
Falfurrias Check Point. After looking at the recovered firearms, vehicle, and speaking
with the on-scene Troopers and DPS SAs, Your affiant with SAs Trevino and Guerrero
re-interviewed GUADARRAMA and LOPEZ with your affiant present.

GUADARRAMA was re-interviewed first. Your affiant conducted Miranda warnings
again prior to questioning and GUADARRAMA agreed to speak with your affiant.
During the second interview, GUADARRAMA stated that he met LOPEZ in Mexico.
Their kids attend the same school in Mexico. GUADARRAMA reconfirmed that the
vehicle was to go to Mexico and LOPEZ and GUADARRAMA would take the Jeep into
Mexico.

GUADARRAMA messaged LOPEZ on facebook for a ride back to Mexico because he
had been sick and wanted to go home. LOPEZ picked him up and they went to Academy
and then Walmart. GUADARRAMA stated that he saw LOPEZ leave with a white
cardboard box about the size of a pistol and had tucked it under a jacket.

GUADARRAMA admitted that he is a convicted felon and knows he is not supposed to
be around firearms. GUADARRAMA claims to have not seen a firearm until the traffic
stop.

During GUADARRAMA’s interview, LOPEZ informed Trooper de la Vina that only 5
of the pistols were his. The above-described Beretta pistol was not his. LOPEZ also said
that GUADARRAMA had something in his shoe. This information was relayed to SA
Trevino. SA Trevino asked GUADARRAMA who eventually admitted that he did have
something in his right shoe.
Case 2:25-cr-00120 Document1 Filed on 01/19/25 in TXSD Page 6of8

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GUADARRAMA claimed that LOPEZ gave it to him to hide and then removed two
items from shoe which GUADARRAMA said was marijuana and cocaine.
GUADARRAMA reaffirmed that he did not know about the firearms and knows he is not
allowed to have them. GUADARRAMA also stated that the firearms were purchased by
LOPEZ. GUADARRAMA stated they do not regularly travel across the border together.

During interview GUADARRAMA consented to the search of his phone, filling out a
consent to search form and showed SAs the Facebook messages of GUADARRAMA and
LOPEZ along with some photographs of injuries he received from cartel members in
Mexico. Nothing in the messages showed a plan to traffic the firearms. Your affiant took
custody of the phone and placed it into evidence in the ATF vault.

Following the interview, Trooper Tejeda informed your affiant that GUADARRAMA’s
phone had its GPS on and was giving directions to the Donna Port of Entry.

LOPEZ was then interviewed by your affiant with SAs Trevino and Guerrero. LOPEZ
received his Miranda warnings from Your affiant and agreed to speak with SAs. LOPEZ
said he has known GUADARRAMA for almost 15 years.

LOPEZ stated he bought the firearms and that is not a crime. LOPEZ transports vehicles
to Mexico as the way he makes money. He began by delivering care packages to Mexico
from their American side of the family and it evolved to transporting vehicles.

LOPEZ stated he was taking the Jeep to Donna where someone else would pick up the
Jeep and drive it into Mexico. LOPEZ said he was never planning on going to Mexico
and had no plans to visit his family in Mexico on this trip. LOPEZ claimed only five (5)
pistols as his, and that the Beretta was GUADARRAMA’s. LOPEZ planned to take his
pistols back to Dallas with him where he had another vehicle to pick up and bring to the
border.

LOPEZ also changed his story from speaking with the Troopers saying he only claimed
the “meth” because it was on his side of the car and suggested that the drugs were all
GUADARRAMA’s just like they were found in his shoe. LOPEZ eventually conceded he
has taken meth previously to stay awake while driving vehicles south.

Your affiant questioned by LOPEZ would conceal his firearms in the spare tire. LOPEZ
stated he did so to keep the firearms from GUADARRAMA because he is a felon.
LOPEZ could not explain why LOPEZ took GUADARRAMA’s Beretta (recovered in
the Walther box that matches the Walther pistol LOPEZ claimed) and hid it in the spare
tire with his items. LOPEZ also could not explain how he was going to get back to Dallas
with his firearms suggesting just renting a car or traveling by bus back to Dallas.

LOPEZ repeatedly stated that he is allowed to purchase firearms and that he can have
firearms.
Case 2:25-cr-00120 Documenti Filed on 01/19/25 in TXSD Page 7of8

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LOPEZ was informed that everything he was stating would be compared to what would
be found in his phone. LOPEZ consented to having his phones searched. LOPEZ had two
phones, an iPhone 13 and a Samsung. LOPEZ gave the passcode to his iPhone 13. As
your affiant asked for the information to access the Samsung phone, LOPEZ stated he
wanted a Lawyer prior to completing the consent to search form. The interview was
terminated.

Your affiant took custody of the six (6) firearms, the two hundred eighty three (283)
rounds of ammunition, and the three cell phones and placed them into the ATF vault
located at the ATF Corpus Christi Field Office.

Prior to transport to be booked into the Coastal Bend Detention Center in Robstown,
Texas, LOPEZ informed a Trooper he wanted to speak to your affiant. Your affiant
opened the door to the Trooper’s vehicle and LOPEZ wanted to know what he was being
charged with. Your affiant informed LOPEZ that LOPEZ and GUADARRAMA would
be charged with 18 USC § 554.

LOPEZ asked why GUADARRAMA was being charged. Your affiant explamed that
based on both people heading to Mexico in a vehicle with firearms hidden from discovery
that both would be charged. LOPEZ stated that he placed the firearms inside the tire.
Your affiant reminded LOPEZ of his statement that the Beretta pistol was
GUADARRAMA’s and that pistol was hidden with LOPEZ’s firearms inside the tire.
LOPEZ then said he would claim all six pistols before muttering something in audible.
Your affiant ended the conversation and closed the Trooper’s vehicle door.

Troopers de la Vina and Tejeda transported LOPEZ and GUADARRAMA to the coastal
bend detention center, where LOPEZ and GUADARRAMA were taken into federal
custody pending criminal complaint.

Your affiant knows from training and experience that individuals engaged in the
trafficking of firearms and ammunition and their exportation from the United States will
often recruit other individuals to purchase firearms on their behalf to evade law
enforcement detection.

Your affiant knows from training and experience that individuals engaged in the
trafficking of firearms and ammunition, or the trafficking of persons or contraband will
secret the trafficked items to hide them from detection by law enforcement.

Your affiant, who has been trained in the identification and origin of firearms and
ammunition, knows that the firearm and ammunition were all made outside the state of
Texas and that the firearm was made after 1898, and thus affect interstate commerce. The
ammunition was also made outside the state of Texas after 1898 thereby affecting
interstate commerce.

Based on the above information, your affiant believes Jose Santana LOPEZ and
Jose Luis GUADARRAMA did attempt to export or send from the United States,
Case 2:25-cr-00120 Documenti Filed on 01/19/25 in TXSD Page 8 of 8

an object contrary to the law of the United States, and attempted to buy and
conceal to facilitate the transportation, of these objects, prior to exportation, in
violation of Title 18 United States Code § 554; to wit, LOPEZ and
GUADARRAMA were transporting six (6) firearms and two hundred eighty three
(283) rounds of ammunition to Mexico, having travel from Austin to south of the
Border Patrol Check Point in Falfurrias when discovered during a traffic stop on
January 17, 2025, in Brooks County, Texas.

Further the Affiant sayeth not.

ay « 2G

Michael E. Dail, ATF Special Agent

Submitted by reliable electronic
means, sworn to, signature attested
telephonically per Fed. R. Crim.
P.4.1 and probable cause found this
19th day of January 2025.

fajon B. Libby
ited States Magistrate Judge
